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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE
-------------------------------------- X
SECURITIES AND EXCHANGE                :
COMMISSION,
                                       :
                Plaintiff,
                                       :
      -against-                                     Civil Action No. 1:21-cv-00260-PB
                                       :
LBRY, INC.,
                                       :
                Defendant.
-------------------------------------- X

                               ASSENTED-TO MOTION FOR
                             EXPEDITED BRIEFING SCHEDULE

       Defendant LBRY, Inc. (“LBRY”), with the assent of Plaintiff Securities and Exchange

Commission (the “Commission”), moves for an expedited briefing schedule concerning the

remedies sought by the Commission in the above-captioned matter.

       LBRY provided the Commission with a settlement proposal on Friday, November 25,

which was consistent with the framework laid out by Your Honor during the November 21, 2022

status conference. The parties discussed LBRY’s settlement proposal via a video conference on

November 29, 2022 and were unable to reach a resolution with respect to the remedies sought by

the Commission. Given LBRY’s financial condition, LBRY respectfully requests that the Court

order an expedited briefing schedule concerning the remedies sought by the Commission in this

litigation. A proposed briefing schedule, with which the Commission agrees, is included below:

                     Brief                                   Proposed Deadline

 LBRY Motion                                    Wednesday, December 7, 2022

 Commission Response                            Wednesday, December 14, 2022

 LBRY Reply                                     Monday, December 19, 2022
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Dated: November 30, 2022

                                       Respectfully submitted,
                                       LBRY, INC.


                                       /s/ Timothy J. McLaughlin (NH Bar # 19570)
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                                       Timothy J. McLaughlin
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                                       /s/ Keith W. Miller
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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF).


Dated: November 30, 2022                          /s/ Keith W. Miller
                                                  Keith W. Miller


                                 CERTIFICATE OF CONFERENCE

       Pursuant to LR 7.1(c), LBRY sought the Commission’s concurrence before filing this

motion. The Commission has assented to the relief sought.


Dated: November 30, 2022                          /s/ Keith W. Miller
                                                  Keith W. Miller




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